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 1   HAGENS BERMAN SOBOL SHAPIRO LLP               QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Shana E. Scarlett (Bar No. 217895)            Kevin Y. Teruya (Bar No. 235916)
 2   shanas@hbsslaw.com                            kevinteruya@quinnemanuel.com
     715 Hearst Avenue, Suite 300                  865 South Figueroa Street, 10th Floor
 3
     Berkeley, CA 94710                            Los Angeles, CA 90017
 4   Telephone: (510) 725-3000                     Telephone: (213) 443-3000

 5
   Attorneys for Plaintiffs Maximilian Klein,
 6 Rachel Banks Kupcho, and Sarah Grabert

 7 [Additional counsel listed on signature page]

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 9
                                  UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12
     MAXIMILIAN KLEIN, et al.,                         Consolidated Case No. 3:20-cv-08570-JD
13
                   Plaintiffs,                         CONSUMER PLAINTIFFS’ OPPOSITION
14                                                     TO   FACEBOOK’S  MOTION     FOR
           vs.                                         SUMMARY JUDGMENT REGARDING
15                                                     CONSOLIDATED CONSUMER CLASS
     META PLATFORMS, INC.,                             ACTION COMPLAINT
16
                                                       The Hon. James Donato
17                 Defendant.
                                                       Hearing Date: July 24, 2025 at 10:00 a.m.
18      This Document Relates To: All Consumer
        Actions
                                                       REDACTED            VERSION           FILED
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 1 I.       INTRODUCTION

 2          Facebook acquired and maintained a monopoly in the Personal Social Networking Services

 3 (“PSNS”) Market by deceiving the market about its data and privacy practices, which destroyed

 4 competition from early rivals like Myspace and Google+ and later ones like MeWe and Snapchat. In

 5 a but-for world where Facebook competed fairly, consumers would enjoy more personal social

 6 networks to choose from, better data practices and other service quality from those networks, and a

 7 competitive level of compensation—either monetary or in-kind—for the data they provide.

 8 Facebook’s deception prevented that world, causing classic antitrust injury and damages. Plaintiffs

 9 (“Consumers”) have adduced considerable lay and expert evidence in support, and their case should

10 proceed to trial. Nothing in Facebook’s summary judgment motion (“Mot.”) shows otherwise.

11          First, Facebook contends Consumers lack antitrust standing because, in the actual world,

12 Facebook is “free” in the sense that users pay with their data rather than money, and Consumers’

13 injuries are, according to Facebook, speculative. Facebook’s argument would give bad actors like

14 Facebook a free pass simply because they take payment in a non-monetary form. That is not the law

15 and disregards the record. While Facebook points to this Court’s prior class certification and Daubert

16 order, the Court did not then have before it Dr. Economides’ full-length merits reports or the

17 underlying proof on which he relies. Regardless, Facebook never grapples with the reality (as Dr.

18 Economides opines) that the increased compensation could have taken the form of money or better

19 services (including more protective data practices). Facebook’s focus on Dr. Economides’ expert

20 opinions also ignores that, expert opinions aside, lay evidence itself raises a triable issue. Facebook’s

21 causation arguments likewise turn on disputed facts that a jury must decide.

22          Second, Facebook contends that Consumers have not established Facebook’s deception

23 harmed competition. But Facebook does not contest that it engaged in deception, the subject of its

24 deception (its data practices) was highly technical, the deception persisted over time, or the deception

25 could not be neutralized by competitors. Instead, it asserts that its deception was “no harm no foul”

26 to competition, i.e., consumers or competitors. But Facebook’s argument relies only on misleading

27 soundbites from two of Consumers’ experts (Dr. Economides and Prof. Lamdan) and Consumers,

28 while ignoring other portions of the record from Facebook and its competitors that require a trial.

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 1          Third, Facebook claims that Consumers’ proffered PSNS Market—which includes general

 2 purpose social networks like Facebook, Instagram, Snapchat, MeWe, and Google+—fails as a matter

 3 of law. Facebook is wrong: even though Facebook has long described itself as “the social network,”

 4 it now feigns ignorance as to what that term means. Its about-face does not pass muster: reams of

 5 evidence confirm that the PSNS Market exists and Facebook dominates it. Ignoring this evidence,

 6 Facebook instead criticizes Consumers’ expert Dr. Farrell, the former chief economist at the DOJ,

 7 FTC, and FCC. Facebook’s critiques mischaracterize his written opinions and testimony, and those

 8 critiques are also irrelevant because they do not matter to his actual analysis and ignore qualitative

 9 lay evidence that itself raises a triable issue on market definition. The Ninth Circuit has held that

10 market definition is usually a highly factual inquiry for the jury, and the court overseeing the FTC’s

11 antitrust case against Facebook denied summary judgment on a near-identical market. The same result

12 should follow here.

13          Fourth, Facebook argues Consumers’ claims are untimely because Facebook started its

14 deception prior to the limitations period and then engaged in more deception during it. As Facebook

15 would have it, an ill-gotten and ill-maintained monopoly cannot be challenged once achieved, and a

16 defendant’s performing new bad acts during the limitations period that are of the same kind as its bad

17 acts before that period, and inflict upon consumers new overcharges and other injuries during the

18 limitations period, cannot suffice. But the continuing violations doctrine rejects that approach, which

19 is why Facebook’s same legal arguments were already rejected by Judge Koh at the motion to dismiss

20 stage. Nor does Facebook’s mischaracterization (or disregard) of the record—including from

21 Consumers, their experts, and Facebook and its competitors—move the needle. Consumers are

22 entitled to seek damages for Facebook’s anticompetitive conduct during the limitations period.

23          Finally, Facebook asserts that summary judgment should be granted on Consumers’

24 attempted monopolization and injunctive relief claims “for the same reasons” as for Consumers’

25 monopolization claim. Facebook’s arguments fail as to the monopolization claim, so these recycled

26 arguments should be rejected for the attempted monopolization and injunctive relief claims too.

27 II.      BACKGROUND

28          Consumers assert two claims against Facebook: for monopolization and attempted

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 1 monopolization of the PSNS Market in violation of Section 2 of the Sherman Act. Dkt. 793. 1

 2           A.     Evidence That Facebook Wields Monopoly Power in the PSNS Market

 3           The PSNS Market in the United States is the relevant market for Consumers’ claims. The

 4 PSNS Market consists of general purpose social networking products, which allow and facilitate

 5 interactions between users and their friends and family. The PSNS Market includes products from

 6 current market participants like Facebook, Instagram, Snapchat, and MeWe, and former participants

 7 like Google+, Myspace, Friendster, Orkut, and Bebo. Ex. 1 (3/29/23 Response to ROG No. 1) at 5.

 8           Using quantitative and qualitative methods, Dr. Farrell confirmed that the PSNS Market is a

 9 valid relevant market. Ex. 20 (Farrell Rept.) §§ IV–V. Using data from Facebook and non-parties, he

10 then confirmed Facebook and jointly-owned Instagram dominate that market. Ex. 20 (Farrell Rept.)

11 § VI. Based on time spent by users, Dr. Farrell calculated Facebook and Instagram’s combined market

12 share as at least       during the limitations period.2 Ex. 20 (Farrell Rept.) ¶¶ 252–58.

13           Facebook does not dispute the geographic market is the United States. Ex. 69 (Carlton Tr.) at

14 24:3–10. It also offers no actual product market of its own, instead claiming it competes for “time

15 and attention” with some undefined universe of other products—its motion mentions TikTok, Twitter

16 (now X), YouTube, Pinterest, Reddit, and “messaging apps.” Mot. 2, 16. But ample record evidence

17 demonstrates that, from users’ perspectives, these services are not reasonably interchangeable with

18 personal social networks for the same purposes: i.e., connecting with friends and family:

19
   1
       During merits expert discovery, Consumers submitted and relied on reports from Professor
20 Lamdan, Dr. Economides, Dr. Farrell, Mr. Klein, Mr. Barnes, and Becky Yoose. The Court sua sponte
   limited the number of Consumers’ experts, leaving Consumers with Dr. Farrell, Dr. Economides, and
21 Prof. Lamdan. Dkts. 789, 853. The Court’s orders, inter alia, limited Dr. Farrell and Dr. Economides
   from both offering their complementary but distinct analyses as to market definition and Facebook’s
22 monopoly power, made Professor Lamdan’s testimony subject to a proffer that the Court has not ruled
   on as of this date, and precluded Consumers from offering the opinions of their other experts Mr.
23 Klein (who ran a consumer survey regarding the materiality of Facebook’s statements), Mr. Barnes
   (who performed financial analyses of Facebook and comparators’ profits, supporting Dr.
24 Economides’ monopoly power and damages opinions), and Becky Yoose (who addressed data and
   privacy issues in rebuttal to Facebook’s experts). Consumers note their continuing objection to the
25 Court’s orders and submit that this case (and Facebook’s motion) should be decided on the full record.
     2
26      Even including other non-PSN services in the market, Facebook and Instagram still have
   sufficiently high market share for monopoly power. Facebook’s expert Dr. Carlton admitted that
27                                                     . Ex. 69 (Carlton Tr.) at 222:9–223:1. Dr. Farrell
   similarly performed alternative share calculations showing that including                         , or
28                  , would leave Facebook and Instagram with sufficient market share to confer
   monopoly power. Ex. 20 (Farrell Rept.) ¶ 258.
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 1 2018 WL 2197546, at *2 (N.D. Cal. May 14, 2018) (Donato, J.). It “may not weigh the evidence or

 2 make credibility determinations.” Hauk v. JP Morgan Chase Bank USA, 552 F.3d 1114, 1118 (9th

 3 Cir. 2009). “[T]rials are the best way to resolve legal disputes.” Fed. Trade Comm’n v. D-Link Sys.,

 4 Inc., 2018 WL 6040192, at *1 (N.D. Cal. Nov. 5, 2018) (Donato, J.). This is particularly true in

 5 antitrust cases, which “consist of primarily factual disputes” such that “summary judgment should be

 6 used ‘sparingly.’” Am. Ad Mgmt., Inc. v. GTE Corp., 92 F.3d 781, 788 (9th Cir. 1996) (cleaned up).

 7 IV.      ARGUMENT

 8          A.     Consumers Have Demonstrated Antitrust Injury and Standing

 9          Facebook’s grab bag of arguments that Consumers cannot show antitrust injury or standing

10 are based on mischaracterizations of both the record and the law. They should be rejected.

11          First, Facebook asserts antitrust injury is lacking since Dr. Economides’ “opinions are

12 unchanged and remain inadmissible” based on the Court’s order denying class certification. Mot. 5.

13 But the Court then had only abridged versions of his class certification reports—not as it has now, his

14 hundreds of pages of full-length merits reports and much of the underlying proof he relied on. To the

15 extent Facebook seeks to exclude Dr. Economides’ merits opinions, Consumers respond in their

16 opposition to its Daubert motion. Facebook’s arguments as to Dr. Economides are also irrelevant, as

17 lay evidence alone (on which Consumers also rely here) can defeat summary judgment as to antitrust

18 injury. AngioDynamics, Inc. v. C.R. Bard, Inc., 537 F. Supp. 3d 273, 324 n.15 (N.D.N.Y. 2021).

19          Second, Facebook mischaracterizes the record. Mot. 6–7. While Facebook asserts that the

20 “only” expert Consumers have to establish antitrust injury is Dr. Economides (Mot. 6), it ignores Dr.

21 Farrell’s opinions explaining how                                                      Ex. 20 (Farrell

22 Rept.) § VII; Dkt. 821 at 4 (proffer). And it misstates Dr. Economides’ opinions and testimony. His

23 merits report explains that, besides not receiving monetary compensation for Facebook’s collection

24 and use of their data, consumers were also harmed because they could have received better quality

25 (such as superior features or data practices or decreased “ad load”) and increased choice (among other

26 PSNS apps). E.g., Ex. 18 (Economides Rept.) ¶¶ 225, 259–60, 272–73, 276, 282–88.

27          Facebook next selectively cites Dr. Economides’ class certification testimony (Mot. 6). It

28 omits his description of money

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 1 within the but-for world” because to insist on such proof “rests upon the befuddling notion that our

 2 actors must have contemplated what they would have done in a but-for world which, due to

 3 defendants’ antitrust violation, never happened” and “cannot be the law.” In re Glumetza Antitrust

 4 Litig., 2021 WL 1817092, at *13–15 (N.D. Cal. May 6, 2021) (rejecting argument; denying summary

 5 judgment); In re Seroquel XR Antitrust Litig., 2025 WL 992004, at *4 (D. Del. Apr. 2, 2025) (same).

 6 Here, Facebook did contemplate paying users, and that supports (not undermines) Consumers’ case.

 7          Consumers transact with Facebook and are thus in a direct-purchaser relationship with

 8 Facebook; they assert the “fairly straightforward” theory that Facebook’s deception destroyed

 9 competition, “immunizing [it] from price competition and allowing it to charge inflated fees” directly

10 to Consumers by not providing them a competitive level of compensation for their data. Heckman v.

11 Live Nation Ent., Inc., 2025 WL 1141266, at *6 (C.D. Cal. Apr. 11, 2025) (directness and non-

12 speculative factors satisfied). While Facebook contests the factual predicates for that theory and what

13 it would have done in the but-for world, those are matters for trial, not bases for summary judgment.

14          Facebook’s cases (Mot. at 7–10) are all inapposite. In re Am. Express Anti-Steering Rules

15 Antitrust Litig., 19 F.4th 127, 134, 139–43 (2d Cir. 2021), and In re Online DVD Rental Antitrust

16 Litig., 2011 WL 1629663, at *1, *9 (N.D. Cal. Apr. 29, 2011), involved “umbrella” plaintiffs who

17 did not transact with the wrongdoer defendants but instead with the defendants’ competitors, who

18 merely raised their prices in response to defendants’ increases. In re Online DVD-Rental Antitrust

19 Litig., 779 F.3d 914, 923 (9th Cir. 2015), found a lack of evidence specific to that case—whether

20 Netflix would have lowered its prices—which is not the case here given the vast evidence

21                                                                          McCarthy v. Intercontinental

22 Exch., Inc., 2022 WL 4227247, at *1, *4 (N.D. Cal. Sept. 13, 2022), involved conclusory allegations

23 as to “whether (and which) plaintiffs” even transacted with defendants and paid the challenged

24 supracompetitive fees; Consumers here are indisputably Facebook users and did not receive

25 compensation from Facebook. City of Oakland v. Oakland Raiders, 20 F.4th 441, 458–60 (9th Cir.

26 2021), found no antitrust standing as the plaintiff city was a non-purchaser that was “priced out of

27 the market” and sought lost investment, tax, and property value, which “present[s] a special problem”

28 not present where, as here, “direct purchasers” seek to recover an “overcharge” paid to the defendants.

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 1 Medtronic, Inc., 762 F.3d 1114, 1117, 1130 (10th Cir. 2014) (denying summary judgment as

 2 defendant’s conduct, including deception, “inhibited competition by other smaller firms”); Insignia

 3 Sys. v. News Am. Mktg. In-Store, Inc., 661 F. Supp. 2d 1039, 1056 (D. Minn. 2009) (similar, where

 4 defendant’s conduct, including deception, affected its “two largest” rivals); compare TYR Sport, Inc.

 5 v. Warnaco Swimwear, Inc., 709 F. Supp. 2d 821, 834 (C.D. Cal. 2010) (cited at Mot. 11) (summary

 6 judgment granted as plaintiff only identified evidence of harm to itself, not other market participants).

 7          Finally, additional expert evidence also demonstrates the genuine dispute regarding

 8 anticompetitive harm. Dr. Farrell, one of Consumers’ economic experts, explained—based on record

 9 evidence and well-accepted economic literature—how

10 Ex. 20 (Farrell Rept.) ¶¶ 259–78. Facebook’s motion nowhere mentions this analysis; nor does

11 Facebook seek to exclude it. This is yet more evidence on which reasonable jurors could rely.

12                  2.      Rather Than Engage With the Record, Facebook Mischaracterizes
                            Consumers’ Testimony and Their Experts’ Opinions
13
            The above evidence by itself demonstrates a triable issue as to how Facebook’s deception
14
     harmed competition. Rather than engage with that proof, Facebook resorts to mischaracterizing the
15
     testimony of Consumers and the opinions of Dr. Economides and Prof. Lamdan with a few, cherry-
16
     picked deposition soundbites. But all this does is highlight the parties’ genuine disputes.
17
            First, Facebook misstates Consumers’ testimony in arguing they did not rely on Facebook’s
18
     deception. Mot. 10, 14. As an initial matter, Consumers’ individual reliance is irrelevant; what matters
19
     in an antitrust case is whether the market was deceived. In re Warfarin Sodium Antitrust Litig., 391
20
     F.3d 516, 528–29 (3d Cir. 2004) (“individual reliance on the misrepresentations was irrelevant to
21
     liability” in deception-based antitrust case). Also, each testified
22
                                                Ex. 77 (Grabert Tr. I) at 199:24–200:1, 207:3–16; Ex. 80
23
     (Klein Tr.) at 26:8–20, 232:17–24, 277:14–23, 279:9–280:19; Ex. 68 (Banks Kupcho Tr.) at 32:7–
24
     34:5, 50:1–3, 155:23–156:20, 216:24–217:10, 233:18–234:10. Similarly, each stated in interrogatory
25
     responses that they
26

27

28
                 Ex. 11 (1/18/23 Response to ROG No. 7); Ex. 12 (2/15/23 Response to ROG No. 15).

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 1 from Dr. Farrell’s expert analysis, the lay evidence (supra at 3–4)—which Facebook’s motion does

 2 not address—itself suffices to allow the jury to find non-PSN services are not reasonably

 3 interchangeable with PSN services like Facebook, and the PSNS Market is properly defined. Lucas

 4 Auto. Eng’g, Inc. v. Bridgestone/Firestone, Inc., 275 F.3d 762, 765–68 (9th Cir. 2001) (reversing

 5 summary judgment; qualitative evidence alone raised fact question as to market).

 6          Third, Facebook complains that Dr. Farrell excludes from the PSNS Market TikTok,

 7 YouTube, Pinterest, Twitter, Reddit, and messaging apps. Mot. 3, 16. That is a classic fact dispute

 8 about what products or use cases are (or are not) in the market. Glumetza, 2021 WL 1817092, at *6

 9 (denying summary judgment as “question of fact” on whether market included “other” products).

10          Fourth, Facebook’s gripes about the history of Consumers’ market are wrong and also

11 irrelevant. Mot. 16–18. Consumers’ complaint asserted two markets—the Social Network and Social

12 Media Markets—and both were found well-pled at the motion-to-dismiss stage. Dkt. 214 at 7–25. As

13 to the Social Media Market, Consumers elected to streamline their case and forego it; Facebook and

14 this Court were notified. Dkt. 431 (Jan. 19, 2023 Hrg. Tr.) at 41. As to the Social Network Market,

15 Consumers added the word “Personal” as a descriptor to make clear the market includes general

16 purpose social networking apps and excludes niche ones—like professional and local networking

17 services—that were already not in the market. And while Consumers fine-tuned their analyses since

18 this case was filed—that is to be expected after years of discovery—the PSNS Market is similar to

19 the Social Network Market already found sufficiently pled here and the PSN Market found sufficient

20 at both the motion-to-dismiss and summary judgment stages in the FTC case. Dkt. 214 at 3, 9–20;

21 FTC, 2024 WL 4772423, at *7–17. No more is required at summary judgment: “if the relevant

22 markets are in dispute . . . they don’t have to [be] completely 100 percent rock solid,” they just need

23 “to make it past pleading issues,” and anything else “are facts” and “issues” for trial. In re Google

24 Play Store Antitrust Litig., Case No. 21-md-02981-JD (N.D. Cal.) (Donato, J.), Dkt. 569 at 35.

25          Fifth, Facebook asserts that “what is included” in the PSNS Market and “what is not” is

26 unclear. Mot. 16–18. If Facebook is in the dark, it is because it buried its head in the sand. Consumers

27 years ago in fact discovery identified the market and its current primary players and former

28 participants (Ex. 1 (3/29/23 Response to ROG No. 1)); those contours remained true across class and

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 1 certain activities on various apps say nothing about his actual market definition analysis, which is

 2 based on: (1) identifying a candidate market of apps using qualitative analysis; and (2) then

 3 confirming that market passes the Hypothetical Monopolist Test using quantitative critical loss and

 4 upward pricing pressure analyses. Ex. 20 (Farrell Rept.) §§ IV, VI.A. Facebook’s cited cases (Mot.

 5 18) thus do not help it. See Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924 F.2d 1484,

 6 1489–90 (9th Cir. 1991) (“no evidence” to support excluding various services from market); Thurman

 7 Indus., Inc. v. Pay ‘N Pak Stores, Inc., 875 F.2d 1369, 1374 (9th Cir. 1989) (assessing only qualitative

 8 evidence and noting plaintiff offered “no evidence to counter” defendant’s “showing of economic

 9 substitutability” between products inside and outside market); United States v. Oracle Corp., 331 F.

10 Supp. 2d 1098, 1101, 1159 (N.D. Cal. 2004) (decision after bench trial, not on summary judgment;

11 expert also conceded no “quantitative metric”); Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124

12 F.3d 430, 437–39 (3d Cir. 1997) (evaluating single-brand “aftermarket” limited to Domino’s

13 supplies). While Facebook and its experts may dispute Dr. Farrell’s approaches, that is not a basis for

14 summary judgment. Trendsettah USA, Inc. v. Swisher Int’l Inc., 2016 WL 6822191, at *6 (C.D. Cal.

15 Jan. 21, 2016) (“conflicting expert testimony” on market definition precluded summary judgment).

16          D.     Facebook Is Not Entitled to Summary Judgment on Timeliness Grounds

17          Facebook’s statute of limitations arguments misconstrue Consumers’ claims, the record, and

18 the law. Mot. 18–23. As an initial matter, Facebook’s fixation on monopoly acquisition (id. 19–20),

19 has nothing to do with the timeliness of Consumers’ claims. Consumers’ damages claims are based

20 on Facebook’s monopoly maintenance between December 2016 and December 2020. So while

21 Facebook’s pre-limitations conduct is part of the “Conduct Period” and relevant as “table setting,”

22 the claims’ timeliness does not depend on that pre-limitations period conduct, and Facebook’s

23 arguments about acquisition and the supposed “default rule” are irrelevant. In re Google Play Store

24 Antitrust Litig., Case No. 21-md-02981-JD, Dkt. 569 at 27–29, Dkt. 571 (N.D. Cal.) (denying

25 summary judgment on this basis). Regardless, by: (1) committing overt acts to maintain its monopoly

26 within the limitations period, and (2) causing accumulating injuries during that period—Facebook

27 “start[ed] the statutory period running again” each time it deceived anew. Klehr v. A.O. Smith Corp.,

28 521 U.S. 179, 189 (1997); Samsung Elecs. Co. v. Panasonic Corp., 747 F.3d 1199, 1202 (9th Cir.

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 1 2014). Contrary to Facebook’s claim that Consumers “abandoned the continuing violations doctrine”

 2 (Mot. 20), they did not, and their claims are timely under both of its elements as explained below.

 3                  1.      Facebook Committed Multiple New Instances of Anticompetitive
                            Deception During the Limitations Period
 4
            The thrust of Facebook’s argument is that because it began deceiving the market before
 5
     December 2016, each new instance of deception within the limitations period cannot be an “overt
 6
     act” because it is part of a “unified campaign” that consists of the same type of conduct (deception)
 7
     and is thus not “new or different conduct[.]” Mot. 20–23. However, just as at the beginning of this
 8
     case, where its same argument was rejected as a matter of law, “Facebook provides no authority for
 9
     its argument that an act is not ‘new and independent’ simply because the defendant has previously
10
     committed the same type of act as part of a unified anticompetitive strategy.” Dkt. 214 at 57. As the
11
     Supreme Court held in a seminal case on continuing violations, the statute of limitations restarted for
12
     a plaintiff each time a monopolist committed “substantially uniform” anticompetitive acts for more
13
     than 42 years. Hanover Shoe, Inc. v. United Shoe Mach. Corp., 392 U.S. 481, 502 n.15 (1968);
14
     Hanover Shoe, Inc. v. United Shoe Mach. Corp., 245 F. Supp. 258, 264-65 (M.D. Pa. 1965). And,
15
     “Facebook’s argument ignores the Ninth Circuit’s clear guidance” that also rejects its legal argument.
16
     Dkt. 214 at 57; see also Oliver v. SD-3C LLC, 751 F.3d 1081, 1086 (9th Cir. 2014) (continuing
17
     violation doctrine met where defendant committed the same type of conduct—price-fixing—before
18
     and during the limitations period); Hennegan v. Pacifico Creative Serv., Inc., 787 F.2d 1299, 1300–
19
     02 (9th Cir. 1986) (same, where “tour operators shepherded tourists” to plaintiff’s competitors before
20
     and during limitations period); accord Xechem, Inc. v. Bristol-Myers Squibb Co., 372 F.3d 899, 902
21
     (7th Cir. 2004) (new sham patent listing during limitations period was overt act for monopolization
22
     claim, even though defendant also fraudulently listed patents before limitations period as well).
23
            Besides being legally wrong, Facebook’s “overt act” arguments are also factually incorrect.
24
     Facebook’s premise is that Consumers supposedly assert that Facebook engaged in “uniform” data-
25
     related deception that “continued without change” during the limitations period. Mot. 20–23. But the
26
     fact that Facebook’s deception was about “the same subject”—its data and privacy practices (id. at
27
     23)—does not mean that Facebook’s specific statements did not change over time. Indeed,
28
     Consumers assert more than verbatim recitations of the same deception Facebook committed before

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 1 during the limitations period. Mot. 20–23. Facebook’s arguments turn on incorrect statements of the

 2 law and genuinely disputed material facts; they should therefore be rejected.

 3          First, Facebook’s assertion that Consumers “identify no new harm to themselves or

 4 competition within the limitations period” is simply wrong. Mot. 21. As an initial matter, Facebook’s

 5 deception harmed Consumers by restricting choice and reducing product quality (like data practices)

 6 across the relevant market within the limitations period. Ex. 18 (Economides Rept.) ¶ 276. Beyond

 7 that harm, Consumers assert that, in each month that users provided their data to Facebook and

 8 received its monopoly price of $0 in return, rather than competitive compensation (e.g., $5), that was

 9 a new overcharge. To assert otherwise would be tantamount to stating that each time a consumer buys

10 a product like a cup of coffee and is overcharged, there is no new and accumulating injury because

11 the consumer also bought that product and paid the overcharge in connection with a separate earlier

12 purchase. That is obviously not the law, and Consumers here more than establish “new and

13 accumulating” injuries.6 Oliver, 751 F.3d at 1086–87 & n.5 (each new sale of price-fixed product at

14 inflated price causes new injury to consumers for continuing violation); Meijer, Inc. v. 3M, 2005 WL

15 1660188, at *2–5 (E.D. Pa. July 13, 2005) (explaining for continuing violation in Section 2 case, “the

16 requisite injurious act within the limitations period can include being overcharged”) (collecting cases).

17          Facebook’s other arguments about lack of harm to competition “after December 2016” miss

18 the mark. Mot. 21–22. Facebook misstates Dr. Economides’ testimony when it contends (Mot. 21–

19 22) that he did not analyze whether the deception had anticompetitive effects in the limitations period.

20 In fact, Dr. Economides explained multiple times “that even one of” the alleged acts of deception—

21 which included multiples acts within the limitations period—would have had anticompetitive effects

22 during the limitations period. Ex. 75 (Economides Merits Tr.) at 181:17–185:24.

23          Moreover, Facebook simply ignores the extensive record evidence that Facebook’s deception

24 during the limitations period harmed competition. For example, Facebook

25

26

27
     6
     Consumers address supra Facebook’s challenges to the nexus between Facebook’s deception, harm
28 to competition, and the resulting overcharge to Consumers, and Facebook’s mischaracterizations of
   Consumers’ testimony as to reliance and acceptance of payments for data. See Mot. 21–22.
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 1      DATED: May 12, 2025

 2    By: /s/ Shana E. Scarlett                   By: /s/ Kevin Y. Teruya
      HAGENS BERMAN SOBOL SHAPIRO LLP             QUINN EMANUEL URQUHART & SULLIVAN, LLP
 3    Shana E. Scarlett (Bar No. 217895)          Kevin Y. Teruya (Bar No. 235916)
 4     shanas@hbsslaw.com                          kevinteruya@quinnemanuel.com
      715 Hearst Avenue, Suite 202                Adam B. Wolfson (Bar No. 262125)
 5    Berkeley, CA 94710                           adamwolfson@quinnemanuel.com
      (510) 725-3000                              Scott L. Watson (Bar No. 219147)
 6                                                 scottwatson@quinnemanuel.com
      Steve W. Berman (admitted pro hac vice)     Claire D. Hausman (Bar No. 282091)
 7     steve@hbsslaw.com                           clairehausman@quinnemanuel.com
 8    1301 Second Avenue, Suite 2000              Brantley I. Pepperman (Bar No. 322057)
      Seattle, WA 98101                            brantleypepperman@quinnemanuel.com
 9    (206) 623-7292                              865 South Figueroa Street, 10th Floor
                                                  Los Angeles, CA 90017-2543
10                                                (213) 443-3000
      LOCKRIDGE GRINDAL NAUEN P.L.L.P.
11    W. Joseph Bruckner (admitted pro hac        Michelle Schmit (admitted pro hac vice)
      vice)                                        michelleschmit@quinnemanuel.com
12
       wjbruckner@locklaw.com                     191 N. Wacker Drive, Suite 2700
13    Robert K. Shelquist (admitted pro hac       Chicago, IL 60606-1881
      vice)                                       (312) 705-7400
14     rkshelquist@locklaw.com
      Brian D. Clark (admitted pro hac vice)      Manisha M. Sheth (admitted pro hac vice)
15     bdclark@locklaw.com                         manishasheth@quinnemanuel.com
      Kyle Pozan (admitted pro hac vice)          295 5th Avenue, 9th Floor
16
       kjpozan@locklaw.com                        New York, New York 10016
17    Laura M. Matson (admitted pro hac vice)     (212) 849-7000
       lmmatson@locklaw.com
18    100 Washington Avenue South, Suite
      2200
19    Minneapolis, MN 55401
20    (612) 339-6900

21                            Attorneys for Plaintiffs Maximilian Klein,
                              Rachel Banks Kupcho, and Sarah Grabert
22

23

24

25

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 1                                ATTESTATION OF KEVIN Y. TERUYA

 2          This document is being filed through the Electronic Case Filing (ECF) system by attorney

 3 Kevin Y. Teruya. By his signature, Mr. Teruya attests that he has obtained concurrence in the filing

 4 of this document from each of the attorneys identified on the caption page and in the above signature

 5 block.

 6
            Dated: May 12, 2025                  By    /s/ Kevin Y. Teruya
 7                                                      Kevin Y. Teruya

 8

 9                                     CERTIFICATE OF SERVICE
10          I hereby certify that on this 12th day of May 2025, I electronically transmitted the foregoing
11 document to the Clerk’s Office using the CM/ECF System, causing it to be electronically served on

12 all attorneys of record.

13
                                                 By    /s/ Kevin Y. Teruya
14                                                      Kevin Y. Teruya
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